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                                                                            Page 581
 1          UNITED STATES DISTRICT COURT
 2          EASTERN DISTRICT OF NEW YORK
 3             No. CV-0401945 (JBW)(SMG)
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 5   **************************
 6   BARBARA SCHWAB, ET AL,
 7   INDIVIDUALLY AND ON BEHALF
 8   OF A CLASS OF ALL OTHERS
 9   SIMILARLY SITUATED,
10                         Plaintiffs
11                 vs.
12   PHILIP MORRIS USA, INC.,
13   ET AL,
14                         Defendants
15   **************************
16
17
18                                      VOLUME:      III
19                                      PAGES:    581-1001
20
21      CONTINUED VIDEOTAPED DEPOSITION of
22                JOHN R. HAUSER, SC.D.
23                FRIDAY, MAY 19, 2006
24
25
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                                            Page 614                                                Page 616
 1   Q. Now did you ask for this deposition?            1      something along the lines of, "I am
 2   A. I asked for materials. I, of course,            2      informed," which were questions that I
 3      didn't know all the materials available.        3      asked, and as you have no doubt
 4   Q. So you did not ask for this deposition?         4      established in the last deposition, I am
 5   A. I asked for materials that might be             5      not a cigarette expert, and, as to all the
 6      relevant, and I was provided those              6      things that have happened with respect to
 7      materials. I was not aware of all the           7      cigarettes, so I asked for materials that
 8      depositions that had been taken and all         8      would -- at the time of this that I had
 9      the experts.                                    9      been informed about earlier.
10              I don't know if that answers           10              (Multipage Draft Expert Witness
11      your question. I will be glad to try           11               Report by Dr. Hauser marked
12      again.                                         12               exhibit number 30 for
13   Q. It doesn't answer my question. Did you         13               identification.)
14      ask specifically for the deposition of         14      BY MR. GROSSMAN:
15      Dr. Gentry?                                    15   Q. Dr. Hauser, I am going to hand you what is
16   A. As I have indicated, I did not know all        16      marked for identification purposes as
17      the depositions. Therefore, I did not ask      17      exhibit number 30.
18      specifically for the deposition of             18              MR. GROSSMAN: I will take off
19      Dr. Gentry.                                    19      the cover, because it is not part of the
20   Q. Did you know who Dr. Gentry was before you     20      document. This cover page is not part of
21      received the deposition transcript?            21      the document.
22   A. I did not know who Dr. Gentry was prior to     22              (Handing exhibit number 30 to
23      receiving the deposition transcript.           23      the witness.)
24   Q. So it was plaintiffs' counsel's choice to      24   Q. This is a draft report, and I would like
25      select that deposition to provide you?         25      to direct your attention, if I may, to

                                            Page 615                                                Page 617
 1   A. This -- I had asked for materials. They         1      paragraph 96.
 2      had provided materials. I presumed, since       2   A. Okay. There were two drafts and then one
 3      they had choice of all possible things          3      minor modification of those drafts. It
 4      from which to send me, this is one of the       4      would help me if you told me which
 5      things that I was sent.                         5      dates --
 6   Q. You say you asked for materials. You were       6   Q. This is --
 7      more explicit than that, weren't you? You       7   A. -- because I notice you have it on your --
 8      asked for certain kinds of materials?           8   Q. Yes. We were told at Mr. Gaskin's
 9   A. I don't know quite how complete an answer       9      deposition that the dates, although they
10      I can give. I would like to give you a         10      arise from the properties section of the
11      complete answer, if that's okay.               11      Word document that accompanied this, that
12   Q. Did you ask for specific kinds of              12      the dates might be off by a day. This one
13      materials? Did you identify the kinds of       13      was dated apparently December 19, 2005,
14      materials you wanted to receive?               14      which was the same day when you filed a
15   A. Yes. I would like to -- I had asked for        15      final report --
16      materials that related to a paragraph in       16   A. Okay.
17      one of the two incomplete drafts that I        17   Q. -- with the Court. It may be in fact that
18      had written. The paragraph may actually        18      it was drafted on December 18th, the
19      be in both of the incomplete drafts.           19      Sunday preceding that.
20   Q. What is that paragraph?                        20              So I cannot attest to the day.
21   A. I have -- I don't know the number -- I         21      I can tell you that this is the last draft
22      don't recall the number.                       22      that we have that precedes the final draft
23   Q. What is the substance of the paragraph?        23      that was filed with the Court and served
24   A. Okay. Thank you.                               24      on the defendants on December 19th.
25             In that paragraph, it begins            25   A. Okay. So this is the draft that has the

                                                                                        10 (Pages 614 to 617)
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                                             Page 642                                                 Page 644
 1              THE WITNESS: Grammatician?               1              MR. GROSSMAN: I will rephrase
 2              MR. GROSSMAN: Grammarian.                2      the question.
 3   A. -- grammarian, that the word should be           3      BY MR. GROSSMAN:
 4      "ensure" as opposed to "assure."                 4   Q. You have worked with Mr. Gaskin for years;
 5   Q. Okay.                                            5      is that correct?
 6   A. And that was corrected, I believe, in the        6   A. I have worked on and off with Mr. Gaskin
 7      later draft.                                     7      since I advised him in his thesis --
 8   Q. Okay. Would you turn with me to paragraph        8   Q. He --
 9      23, the next paragraph?                          9   A. -- which I believe was 1983 or 1984.
10              (Witness complying.)                    10   Q. And he has conducted other interviews for
11   Q. You write, "The questionnaires were             11      you; is that correct?
12      pretested with 9 respondents on March 25        12   A. Mr. Gaskin has conducted other interviews
13      through March 29th, 2005, to ensure that        13      for me.
14      respondents understood the descriptions,        14   Q. And you have consistently relied upon the
15      instructions, and questions and that their      15      interviews that he has conducted for
16      answers adequately represented their            16      conjoint surveys and for other surveys as
17      beliefs."                                       17      well; is that correct?
18              Do you see that?                        18   A. I have consistently -- well, in trying to
19   A. Yes. I see that.                                19      recall whether or not Mr. Gaskin conducted
20   Q. And that's an accurate statement, is it         20      interviews prior to this for conjoint
21      not?                                            21      surveys, I believe he has, but again I'm
22   A. The questionnaires plus the experience          22      trying to recall my -- specifically.
23      with conjoint analysis. The pretest             23      However, I will say that I have relied
24      combined with the experience of conjoint        24      upon Mr. Gaskin's ability to do
25      analysis and my experience as an expert         25      qualitative interviews in prior

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 1      allowed me to, well, actually people that        1      engagements, both in litigation and in
 2      helped me in this, they were drafting at         2      nonlitigation contexts.
 3      my direction, but -- but I felt that my          3   Q. And you have also relied on Mr. Gaskin to
 4      experience plus these pretest interviews         4      draft survey instruments, questionnaires,
 5      would ensure that the descriptions,              5      not only in this matter but in other
 6      instructions, and questions were correct         6      matters; is that correct?
 7      so that the answers adequately represented       7   A. I don't believe -- I don't know how to
 8      the respondents' beliefs.                        8      answer that, because the first part of
 9   Q. With regard to the conjoint study, you did       9      that question is not correct.
10      not conduct any of the interviews; is that      10   Q. Mr. Gaskin was principally responsible for
11      correct?                                        11      drafting the questionnaire in the conjoint
12   A. These interviews were conducted at my           12      analysis that you did; isn't that right?
13      direction, and, therefore, I did not            13   A. I don't believe that's a correct
14      conduct these interviews, nor did I             14      characterization.
15      believe that they were necessary -- it was      15   Q. Who drafted it?
16      necessary for me to do so.                      16   A. Mr. Gaskin drafted it at my direction. I
17   Q. That is because Mr. Gaskin and                  17      was involved in this. We certainly talked
18      Ms. Schussheim are expert in conducting         18      on the telephone. I'm the expert in the
19      such interviews; is that correct?               19      case. And I feel that I had total control
20              MR. HAUSFELD: I am going to             20      over the final wording of this
21      object to the use of the word "expert."         21      questionnaire, subject, of course, to the
22              MR. GROSSMAN: I don't mean              22      input from the customers and other inputs
23      expert in the same sense as in a                23      that I would normally draw upon as an
24      courtroom.                                      24      expert.
25              MR. HAUSFELD: That's the point.         25   Q. Who wrote the first draft of the

                                                                                          17 (Pages 642 to 645)
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 1      questionnaire?                                   1              MR. HAUSFELD: Objection.
 2   A. That's a -- I'm not avoiding your                2              MR. GROSSMAN: How can you
 3      question. I want to say that's an                3      object to a motion?
 4      ambiguous question, because -- I can             4              MASTER KRANTZ: I think from my
 5      explain.                                         5      hearing it was a long answer, but I think
 6   Q. Who committed to paper or to the memory of       6      it was responsive, but why don't you just
 7      a computer the first draft of the                7      continue probing the area.
 8      questionnaire used for the conjoint              8              MR. HAUSFELD: That's my
 9      analysis in this case?                           9      objection.
10   A. As you have indicated, it was committed         10      BY MR. GROSSMAN:
11      to, I guess, the memory of the computer,        11   Q. Mr. Gaskin is a highly capable person in
12      if that's what you call programming. The        12      survey research of computer -- of consumer
13      person who would have done that would have      13      purchases, consumer desires, and you have
14      been the computer programmer.                   14      relied upon him to work with you on
15   Q. At whose -- did the computer programmer         15      surveys for many years; is that correct?
16      have any discretion in deciding what words      16   A. I have worked with Mr. Gaskin on surveys
17      would be in the first draft or first            17      in many contexts, in some of those
18      iteration of the questionnaire used for         18      instances at my directions, in other
19      the conjoint analysis?                          19      instances, particularly in nonlitigation,
20   A. The computer programmer was working at my       20      as a collaborator.
21      direction through Mr. Gaskin.                   21   Q. Did --
22   Q. He was working at Mr. Gaskin's direction;       22   A. But there was a prefix to your question
23      isn't that right? You never talked to the       23      that I did not agree with. I did not
24      computer programmer; isn't that right?          24      agree with the first part of your
25   A. As I have just stated, the computer             25      question.

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 1      programmer was working at my direction           1   Q. That he is highly capable?
 2      through Mr. Gaskin. Mr. Gaskin did the           2   A. Mr. Gaskin has -- is capable in some
 3      actual physical speaking to the computer         3      arenas. Mr. Gaskin is not trained in
 4      programmer.                                      4      other arenas. And I do not want to make a
 5   Q. Mr. Gaskin also constructed the words that       5      blanket statement as to his expertise in
 6      were used in the first draft of the              6      all arenas with respect to either conjoint
 7      questionnaire; isn't that right?                 7      analysis or survey research. That will be
 8   A. That is not a correct characterization.          8      -- I can provide details if you would
 9   Q. Did you -- who put together the words, you       9      like.
10      or Mr. Gaskin?                                  10   Q. Well, you rely upon his experience,
11   A. Mr. Gaskin and I discussed the words. We        11      judgment, and knowledge to conduct
12      also listened to customers, customers who       12      pretests and qualitative interviews for
13      certainly described -- want to have the         13      your surveys; is that correct?
14      words described in the customer's words --      14   A. I believe that Mr. Gaskin was trained and
15      well, want to have the words in the             15      capable in terms of doing the qualitative
16      questionnaire described in the customer's       16      interviews.
17      words and phrases.                              17   Q. And the pretests?
18               So Mr. Gaskin was following            18   A. I believe that Mr. Gaskin was trained and
19      methodology I set forth based upon the          19      capable of working at my direction to do
20      qualitative interviews and then later the       20      the pretest interviews.
21      pretests, and Mr. Gaskin certainly              21   Q. When you say working at your direction,
22      discussed this with me. So he was working       22      you weren't in the room when he was asking
23      at my direction.                                23      the questions; is that correct?
24               MR. GROSSMAN: I move to strike         24   A. As I have indicated before, I instructed
25      as nonresponsive.                               25      Mr. Gaskin to do these interviews and I

                                                                                         18 (Pages 646 to 649)
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 1      was not in the room while he was carrying         1      pose the question again, and if you could
 2      out my directions.                                2      try to answer it as directly as possible.
 3   Q. Mr. --                                            3              THE WITNESS: Okay.
 4              MASTER KRANTZ: I am just going            4      BY MR. GROSSMAN:
 5      to make a suggestion at this point to try         5   Q. Do you recall any editorial change or any
 6      to expedite matters. If a question can be         6      addition that you made to the
 7      answered yes or no, that's a fine answer.         7      questionnaire that was used for the
 8      You don't need to rephrase the question           8      conjoint analysis?
 9      and then affirmatively agree with it. You         9   A. I cannot recall any specific word or
10      can simply say yes.                              10      phrase in the process of developing that
11      BY MR. GROSSMAN:                                 11      questionnaire.
12   Q. Mr. Gaskin also conducted the pretests for       12   Q. Do you recall whether Mr. Gaskin wrote any
13      the time surveys; right?                         13      words or phrases in the conjoint analysis
14   A. Mr. Gaskin was involved in the pretests          14      questionnaire?
15      for the time studies.                            15   A. Mr. Gaskin was involved in writing the
16   Q. Did you conduct any pretest for the time         16      survey. I not recall which specific words
17      study?                                           17      or phrases he wrote.
18   A. I did not -- I don't know quite how to           18   Q. In fact, didn't Mr. Gaskin to your memory
19      answer that.                                     19      write every word and phrase that was used
20              I was not in the room while              20      in the conjoint analysis questionnaire?
21      these pretests were conducted.                   21   A. You misinterpret my statement. That is
22   Q. Who drafted the questionnaire for the time       22      not correct.
23      study?                                           23              MASTER KRANTZ: You don't need
24   A. I was involved in the draft of the               24      to comment on whether the questioner --
25      questionnaire for the time study with            25              THE WITNESS: Okay.

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 1      Mr. Gaskin working at my direction.               1              MASTER KRANTZ: -- misinterprets
 2   Q. Do you recall any editorial change that           2      or not. Just answer the question.
 3      you made to the questionnaire for the time        3              THE WITNESS: Okay.
 4      study?                                            4              That is not correct.
 5   A. I do not recall any specific words and            5      BY MR. GROSSMAN:
 6      phrases that I put in there. I was                6   Q. Do you know of anyone other than
 7      involved. We spoke on the telephone. But          7      Mr. Gaskin who wrote words or phrases used
 8      I could not at this point point to a              8      in the conjoint analysis questionnaire?
 9      particular word and phrase that came from         9   A. I was involved in writing this, so I was
10      me or came from, alternatively, words and        10      involved.
11      phrases from the consumers.                      11   Q. Well, you just said you couldn't recall
12   Q. Can you identify any word or any change          12      having written any words or phrases that
13      that you made in the questionnaire for the       13      were used in the conjoint analysis
14      conjoint survey, any editorial change that       14      questionnaire, and you also said that you
15      you made for that questionnaire?                 15      were involved in some general way, but do
16   A. I was fully involved in that process.            16      you know of anyone other than Mr. Gaskin
17             MR. GROSSMAN: Move to strike --           17      who wrote words or phrases that were used
18   A. I cannot --                                      18      in the conjoint analysis questionnaire?
19             MR. GROSSMAN: -- as                       19   A. That's not what I said. I said I did not
20      nonresponsive.                                   20      recall any specific words or phrases. I
21             MASTER KRANTZ: I think you are            21      do recall someone other than Mr. Gaskin
22      being nonresponsive at the beginning of          22      who was involved in the process, and that
23      your answers.                                    23      was me.
24             THE WITNESS: Okay.                        24   Q. Do you recall anyone else other than you
25             MASTER KRANTZ: Why don't you              25      who was involved in the process?

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 1      draft time report light cigarettes                1      cigarette company or literature on
 2      121905.doc, which also has some                   2      cigarette distribution, sale, and use
 3      handwriting at the top.                           3      obtainable through libraries or online
 4              MR. HAUSFELD: Why don't you               4      sites that you obtained, having not
 5      identify the handwriting --                       5      received them from plaintiffs' counsel?
 6              THE WITNESS: Okay.                        6   A. You are asking -- let me understand your
 7              MR. HAUSFELD: -- so we can                7      question. You are asking do I recall all
 8      distinguish it from other materials.              8      of the documents. I do not recall all of
 9              THE WITNESS: Basically same as            9      the documents.
10      JH report CGTM short report, short RPT,          10              MR. GROSSMAN: I move to strike.
11      121605.doc, except draft.                        11      I move to strike as nonresponsive.
12      BY MR. GROSSMAN:                                 12              MASTER KRANTZ: That --
13   Q. Okay. Now, Dr. Hauser, among those               13      BY MR. GROSSMAN:
14      documents that you say were not provided         14   Q. I am asking you if you recall any.
15      to you by counsel are e-mails, various           15              MASTER KRANTZ: I am going to
16      other correspondence, and your own               16      make a suggestion. Perhaps you could
17      analysis, such as the conjoint study graph       17      break your question down a little bit.
18      and your list of discovery materials as          18              MR. GROSSMAN: I am happy to.
19      requested from Dr. Hauser.                       19      BY MR. GROSSMAN:
20              Is there any material that was           20   Q. Do you recall any document that you ever
21      not provided to you by counsel that              21      received from any source other than
22      consists of internal documents of the            22      plaintiffs' counsel that was an internal
23      cigarette companies or publicly-available        23      document of a cigarette company?
24      public literature on cigarette companies         24   A. I have got to answer yes to that.
25      or their products?                               25   Q. Could you identify such documents?

                                              Page 667                                                Page 669
 1   A. Are you referring to the pile that I              1   A. Yes. You, I believe, to the best of my
 2      brought here today?                               2      recollection -- although I am not sure --
 3   Q. I'm referring to anything that you ever           3      that you showed me these in my last
 4      received.                                         4      deposition.
 5   A. Okay. As indicated on the first page of           5   Q. I don't think I showed you any internal
 6      that pile in discovery material, there is         6      document of a cigarette company at the
 7      material that I provided previously, and          7      last session of your deposition.
 8      to the extent that any of those can be            8   A. Then I misrecall. You showed me a lot of
 9      considered research on the cigarette              9      documents. I don't recall all of them. I
10      companies, those are research, and I have        10      am being careful here.
11      provided them.                                   11   Q. Apart from any document that you were ever
12              MR. GROSSMAN: I move to strike           12      shown by counsel, do you ever recall
13      as nonresponsive.                                13      having received or reviewed any document
14   Q. Do you --                                        14      that was from the internal files of a
15              MR. HAUSFELD: Objection.                 15      cigarette company?
16   Q. Do you recall --                                 16   A. Other than the document that we've had
17              MR. HAUSFELD: Objection.                 17      before -- that we have seen here this
18      Objection to the drama in which the              18      morning, I do not recall any documents
19      question is asked.                               19      from the cigarette companies -- again I
20              MR. GROSSMAN: Okay.                      20      don't recall -- that I have seen, unless
21              MASTER KRANTZ: Let's just move           21      they have actually been produced. I just
22      on.                                              22      don't recall everything that was in there
23      BY MR. GROSSMAN:                                 23      that we produced.
24   Q. Do you recall any document that                  24   Q. I am just trying to get a clean answer
25      constituted an internal document of a            25      here. Have you ever looked anywhere, on

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 1      the Internet or in a library or in any             1   A. I recall that -- well, yes, I think.
 2      other public source, for internal tobacco          2               Certainly, as I recall various
 3      company documents?                                 3      textbooks that I have taught out of, there
 4   A. I don't recall doing that.                         4      is certainly some cigarette advertising in
 5   Q. Thank you.                                         5      them; various materials that, you know, I
 6   A. I may have done that.                              6      would have looked at on the Web, many of
 7              MASTER KRANTZ: Is your best                7      which I may have looked at that forms sort
 8      recollection you have no current                   8      of a general background information,
 9      recollection of having done that? You may          9      either before or during the time that I
10      have done it, but you don't recall it as          10      have been involved in the case. However,
11      you sit here today; is that fair?                 11      I did not rely on those.
12              THE WITNESS: I don't recall any           12   Q. And you don't recall any such specific
13      specific searches. I do recall some               13      document; is that correct?
14      general searches. You know, but I would           14   A. I do not recall all the specifics of any
15      not say that I relied upon any of those           15      general searches. I have done my best to
16      searches.                                         16      provide anything I have relied upon.
17              MASTER KRANTZ: The question is            17   Q. I am not asking you about all the
18      not reliance at the moment. The question          18      specifics. I am asking do you recall any
19      is whether you recall having done those           19      specific of any such document.
20      searches, if I understand the question            20   A. I do not recall specific words and phrases
21      correctly.                                        21      or titles et cetera of these documents.
22              THE WITNESS: I am trying to               22   Q. Do you recall any document by any
23      recall. I am doing my best.                       23      description you could give?
24              MASTER KRANTZ: I understand.              24   A. I have -- I am finding a hard time to
25      What is your best answer to the question?         25      describe some general searches. I can

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 1      Do you recall having done so?                      1      recall a particular document written by
 2              THE WITNESS: My best                       2      David Ogilvie. I can't recall the title.
 3      recollection is I cannot recall the                3      But actually it is a reading in one of my
 4      specific sources.                                  4      courses, and I believe that it has
 5      BY MR. GROSSMAN:                                   5      cigarette advertising in it.
 6   Q. And you cannot recall any specific                 6              THE VIDEOGRAPHER: We have to go
 7      document?                                          7      off the record to change tapes.
 8   A. I cannot recall any specific document.             8              MR. GROSSMAN: Okay.
 9   Q. And you cannot recall the subject of any           9              THE VIDEOGRAPHER: This is the
10      document?                                         10      end of tape number 1. It is 10:35. We
11   A. If I had done it, the subject would have          11      are off the record.
12      been cigarettes.                                  12              MR. GROSSMAN: Let's take our
13   Q. "If." But you cannot recall the subject           13      first break.
14      of any document that you reviewed on the          14              (Recess taken at 10:35 a.m.)
15      Internet or in the library; is that               15              (Recess ended at 10:49 a.m.)
16      correct?                                          16              (Mr. Parsigian no longer present
17   A. I am going to try to do my best here. I           17      in the deposition room.)
18      cannot recall the specific subjects.              18              THE VIDEOGRAPHER: We are back
19   Q. Do you recall having reviewed on the              19      on the record. This is tape number 2.
20      Internet or in a library or from any other        20      The time is 10:49.
21      source other than counsel in this case            21      BY MR. GROSSMAN:
22      documents dealing with the marketing of           22   Q. Okay. Dr. Hauser, a survey can be
23      cigarettes?                                       23      generalized only to the population
24   A. Yes.                                              24      studied; correct?
25   Q. What documents?                                   25   A. That is not always true.

                                                                                            24 (Pages 670 to 673)
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 1   Q. Well, you attempt to conduct a survey            1      correct?
 2      among the -- that is representative of the       2   A. I conducted the survey -- I conducted the
 3      group of people who are the subject of the       3      conjoint survey of current light cigarette
 4      survey, of the study; is that correct?           4      smokers -- from a sample of current light
 5   A. Can you repeat that?                             5      cigarette smokers.
 6   Q. Did you make any attempt in this case for        6   Q. The conjoint survey sample did not include
 7      the people surveyed to be representative         7      any former smokers; is that correct?
 8      of light smokers?                                8   A. To the extent that a current smoker is a
 9   A. We made an attempt that the survey that we       9      former smoker, it did include --
10      did could be projected to a representative      10   Q. I will rephrase the question.
11      set of light smokers.                           11              MR. HAUSFELD: No. Let the
12   Q. Why did you do that?                            12      witness finish, please, and I would
13              MR. HAUSFELD: Can we clarify            13      appreciate if you enjoined from drama
14      what surveys? Because --                        14      trying to indicate to the witness --
15              MR. GROSSMAN: I am referring to         15              MR. GROSSMAN: I am not being --
16      the conjoint survey.                            16              MR. HAUSFELD: -- in the middle
17              MR. HAUSFELD: Okay. If we               17      of a question that you are dissatisfied
18      could call it the conjoint survey from now      18      with the answer as he is giving it.
19      on to distinguish it from other surveys.        19              MR. GROSSMAN: I am not -- I am
20              MR. GROSSMAN: That is fine.             20      not being dramatic. I am just trying to
21              MR. HAUSFELD: I think it would          21      get an answer to a question without --
22      be helpful.                                     22              MASTER KRANTZ: We are going to
23              MR. GROSSMAN: That's fine.              23      try to avoid colloquy that doesn't get any
24              THE WITNESS: So my answer is            24      of us any further. I suggest you just
25      for the conjoint study, we attempted to         25      repose the question.

                                             Page 675                                                Page 677
 1      study a set of respondents that we could         1             MR. GROSSMAN: Yes.
 2      project to the population of -- I am sorry       2             MASTER KRANTZ: And let's move
 3      -- that we could project to the actions          3      on.
 4      and preferences, et cetera, of the               4      BY MR. GROSSMAN:
 5      population of light surveys -- light             5   Q. Dr. Hauser, the conjoint survey was not
 6      cigarettes -- smokers.                           6      administered to anyone who had stopped
 7      BY MR. GROSSMAN:                                 7      smoking; is that correct?
 8   Q. Smokers?                                         8   A. That's not technically correct.
 9   A. Smokers, thank you.                              9   Q. Okay. Who among the survey participants,
10   Q. Why? Why did you look for a                     10      how many among the survey participants was
11      representative population of light              11      not a current smoker at the time of the
12      smokers?                                        12      survey?
13   A. Well, a representative sample is a sample       13   A. All respondents to the survey to the best
14      that is probably best to project. It            14      of our ability were current light
15      requires the least adjustment in terms of       15      cigarette smokers.
16      interpretation.                                 16   Q. So there wasn't a single person in the
17   Q. Now in the time survey, you conducted the       17      survey who had formerly smoked and was a
18      survey of current and former smokers of         18      nonsmoker at the time of the survey; is
19      light cigarettes; is that correct?              19      that correct?
20   A. In the time survey, I attempted to conduct      20   A. The respondents -- at the time of the
21      a survey of both light and former -- light      21      survey, the respondents were smokers of
22      cigarette smokers and former light              22      light cigarettes; therefore, there was no
23      cigarette smokers.                              23      one in the survey who was not a current
24   Q. In the conjoint study, you conducted the        24      smoker of light cigarettes.
25      survey only of current light smokers;           25   Q. For clarification, at the time of the

                                                                                         25 (Pages 674 to 677)
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                                            Page 678                                                Page 680
 1      survey, there was no one in the survey who      1   A. Marlboro, for example, would normally be
 2      previously smoked and had stopped -- and        2      known as a brand. It has both regular and
 3      had -- and was no longer smoking; correct?      3      light cigarettes.
 4   A. Oh, okay. That is a slightly different          4   Q. And ultra lights.
 5      question. That one I can answer.                5   A. All right.
 6   Q. And what is the answer?                         6   Q. And hundreds and special products like
 7   A. The answer is there is no one in the            7      special blend 356?
 8      survey who had stopped smoking and had          8              MR. HAUSFELD: He said "brand"
 9      continued stopping smoking and was no           9      is ambiguous because the way the witness
10      longer smoking in the conjoint sample at       10      understands it and the way you're using it
11      the time of the conjoint study --              11      may not be the same. So if we define
12   Q. What --                                        12      "brand" --
13   A. -- to the best of our ability.                 13              MR. GROSSMAN: I will restate
14   Q. Let's define people who used to smoke and      14      the question.
15      were no longer smoking as of the time of       15      BY MR. GROSSMAN:
16      the survey as "former smokers." Okay?          16   Q. Do you get the understanding that people
17   A. Okay. For the purposes of this                 17      switch the kind of cigarette they smoke
18      deposition, someone who is no -- who used      18      over their smoking career sometimes?
19      to smoke and is not smoking at the time of     19   A. It is my understanding that some consumers
20      the survey, I will accept the definition       20      will switch either the brand or they might
21      that these are "former smokers."               21      switch the type of cigarette that they
22   Q. Okay. In addition to not making any test       22      smoke over their lifetime.
23      among former smokers, your conjoint survey     23   Q. And when you say "type," you are referring
24      did not include any current smokers who no     24      to light, ultra light, or what you call
25      longer smoked light cigarettes; is that        25      regular; is that correct?

                                            Page 679                                                Page 681
 1      correct?                                        1   A. Well, you are defining "type," and I am
 2   A. I'm not sure I understand your question.        2      using it within your context, not the
 3      Current smokers of light cigarettes?            3      context in the survey.
 4   Q. No.                                             4   Q. I did not use the word "type." It came
 5              MR. GROSSMAN: I will rephrase           5      from you. I am asking you what you mean
 6      the question.                                   6      by the word "type."
 7   Q. Say a person smoked Marlboro Lights from        7   A. Within the context of the survey, it would
 8      1980 to 1990, and in 1990 switched to           8      be regular versus light versus ultra
 9      Marlboro Ultra Lights. That is a former         9      light. In other contexts, it might mean
10      smoker of light cigarettes who continued       10      other things.
11      to smoke.                                      11   Q. And you understand that in the population
12   A. Wait. They? What was that again? Okay.         12      of smokers there are people who at one
13      They smoked?                                   13      point in their smoking histories smoked
14   Q. Some people currently smoke --                 14      light cigarettes and today smoke ultra
15   A. Some people currently smoke light              15      light cigarettes or what you call regular
16      cigarettes?                                    16      cigarettes or other types of cigarettes?
17   Q. -- brands -- no. Let me finish.                17      Do you understand that?
18   A. Okay.                                          18   A. I understand that there might be people --
19   Q. Some people currently smoke brands other       19      consumers who, if I understood -- if I
20      than light brands, but at sometime since       20      recall your question right who smoked
21      1971 had purchased light cigarettes. Do        21      light cigarettes in the past and who now
22      you understand the premise?                    22      smoke other types of cigarettes, such as
23   A. I understand the premise, except for the       23      regular cigarettes.
24      ambiguous use of the term "brand."             24   Q. Your survey, your conjoint survey, made no
25   Q. What is ambiguous about the term "brand"?      25      attempt, and in fact excluded from

                                                                                        26 (Pages 678 to 681)
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 1       participation, people who formerly smoked        1      cigarettes but did not currently smoke
 2       light cigarettes but currently did not           2      light cigarettes as of the time of the
 3       smoke light cigarettes; correct?                 3      survey?
 4    A. The conjoint analysis survey -- or the           4   A. I don't recall all the details, but it
 5       survey upon which the conjoint analysis is       5      would have been, of course, my decision to
 6       based was targeted towards consumers who         6      pick the target, but the instructions to
 7       were current smokers of light cigarettes.        7      the best of my recollection was to ask
 8               MR. GROSSMAN: Move to strike as          8      questions of light cigarette smokers.
 9       nonresponsive.                                   9   Q. Current light cigarette smokers?
10       BY MR. GROSSMAN:                                10   A. In the definitions that we're using today,
11    Q. Could you answer the question, please?          11      of current light cigarette smokers.
12               MR. HAUSFELD: He did.                   12   Q. Dr. Hauser, in the time survey conducted
13               MASTER KRANTZ: I don't think            13      from late November to early December
14       that -- that was sort of a negative, a          14      2005 --
15       negative inference. It might have               15   A. Can I ask a question?
16       answered the question. But why don't you        16   Q. Yes.
17       answer the question affirmatively if you        17   A. When you make a statement that is clearly
18       can.                                            18      a question, is that still a question?
19               THE WITNESS: Okay. Can you ask          19              MR. GROSSMAN: Move to strike.
20       the question again?                             20              MASTER KRANTZ: I don't even
21               MR. GROSSMAN: Please ask the            21      understand that question.
22       question again.                                 22              THE WITNESS: He makes a --
23               (The reporter then read back as         23              MASTER KRANTZ: He can make a
24       follows:                                        24      statement and ask you is that correct or
25               "Question: Your survey, your            25      do you agree with it or is that fair.

                                              Page 683                                                 Page 685
 1       conjoint survey, made no attempt, and in         1               THE WITNESS: Right.
 2       fact excluded from participation, people         2               MASTER KRANTZ: Those are
 3       who formerly smoked light cigarettes but         3      questions.
 4       currently did not smoke light cigarettes;        4               THE WITNESS: All right. I was
 5       correct?")                                       5      a bit confused on that last one.
 6               THE WITNESS: Okay.                       6               MASTER KRANTZ: That is
 7    A. The survey on which the conjoint analysis        7      perfectly permissible. He is allowed to
 8       is based did not include -- or did not           8      make a statement and ask if you agree with
 9       attempt to include consumers who formerly        9      it or adopt it.
10       smoked light cigarettes and who do not          10               THE WITNESS: In that case, he
11       currently smoke light cigarettes to the         11      just made a statement and I answered it.
12       best of our ability.                            12               MASTER KRANTZ: The record
13    Q. Do you mean to the best of your ability         13      speaks for itself. We will just move on.
14       they were excluded from the survey?             14      BY MR. GROSSMAN:
15    A. To the best of the ability and what -- we       15   Q. Dr. Hauser, your time survey included 442
16       -- basically we screened people on their        16      former smokers out of the 1,026
17       answers to our questions, which I believe       17      respondents who were surveyed; is that
18       to a large extent were accurate answers,        18      correct?
19       but in any survey research, there may be        19   A. That is not correct.
20       one or two or a few customers -- and this       20   Q. How many people were surveyed in the time
21       is in the error term -- that in fact may        21      survey?
22       answer incorrectly, but it's a small            22   A. In the time survey, we started out with an
23       number.                                         23      initial sample of I believe -- or an
24    Q. Now who made the decision not to include        24      initial target of I believe 1,026, and in
25       people who formerly smoked light                25      following appropriate procedures, we then

                                                                                           27 (Pages 682 to 685)
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 1       look it up.                                      1   A. Using the definition of "former" that
 2    Q. In the time survey, it was your decision         2      we've agreed to, the conjoint analysis
 3       that both former and current light smokers       3      survey did not ask questions, and,
 4       would be included in the survey; is that         4      therefore, does not -- sorry -- the survey
 5       correct?                                         5      upon which the conjoint analysis is based
 6    A. I, to the best of my recollection, I             6      did not ask questions of former light
 7       believe it was my decision, yes.                 7      cigarette smokers as defined in this
 8    Q. Now people who have chosen to quit smoking       8      deposition and to the best of our ability.
 9       may well have valued the health aspects of       9   Q. If the class in this case is defined as
10       smoking, the taste aspects of smoking, and      10      all people who ever purchased a light
11       other attributes of smoking differently         11      cigarette from 1971 to the present,
12       than people who choose to continue to           12      including former smokers, your conjoint
13       smoke; is that correct?                         13      analysis was intended to measure the
14    A. I don't know the answer to that question.       14      perceptions of a subset of that class that
15    Q. Because you haven't tested it; is that          15      currently consists of light smokers;
16       correct?                                        16      correct?
17    A. I can speculate upon the answer.                17   A. I -- just to be technically accurate -- I
18               MR. HAUSFELD: Don't speculate.          18      don't know specific -- I don't recall the
19    Q. We don't want speculation.                      19      specific class period. Okay?
20    A. Okay.                                           20              My survey -- the conjoint
21    Q. You have not tested that question; is that      21      analysis survey -- the survey upon which
22       correct?                                        22      the conjoint analysis is based was
23    A. I have not analyzed data which would --         23      targeted only towards or the sample was
24       which enable me to at this time form an         24      based upon only those respondents who were
25       expert opinion with respect to that.            25      current light smokers. The conjoint

                                              Page 691                                                Page 693
 1    Q. People who currently smoke ultra light           1      analysis itself, not the survey, with
 2       cigarettes but used to smoke light               2      assumptions, might be used to inform
 3       cigarettes may well value taste and health       3      opinions about other respondents that are
 4       aspects of smoking differently from people       4      similar in some way. However, I am not
 5       who continue to smoke light cigarettes; is       5      providing any expert opinion with respect
 6       that correct?                                    6      to how that might be done at this point.
 7    A. I am not currently providing an expert           7   Q. And you have made no attempt to measure
 8       opinion with respect to that question, and       8      the choices made or that would be made in
 9       without further analysis, I don't know the       9      weighing taste, health risks, and other
10       answer to that question.                        10      attributes among former smokers of light
11    Q. Okay. Your conjoint analysis, to the            11      cigarettes; is that correct?
12       extent it is accurate or reliable, applies      12   A. I have up to this point not done any
13       only to current light smokers; is that          13      analyses yet that directly project the
14       correct?                                        14      conjoint analysis from current smokers to
15    A. That's not quite correct.                       15      former smokers, as we're defining "former
16    Q. Your conjoint analysis studied only             16      smokers" in this deposition.
17       current light smokers; correct?                 17   Q. Now the conjoint survey measured
18    A. The sample of respondents upon which the        18      consumers' potential choices among
19       conjoint analysis is based were to the          19      hypothetical products with hypothetical
20       best of our ability current light smokers.      20      attributes; is that correct?
21    Q. Your conjoint analysis does not contain         21   A. That's not technically a full, correct
22       any measured values that former light           22      statement.
23       smokers have for the taste of light             23   Q. The conjoint analysis did not measure
24       cigarettes or for the health aspects of         24      consumer choices among products that are
25       light cigarettes; is that correct?              25      currently marketed; is that correct?

                                                                                          29 (Pages 690 to 693)
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 1    A. That's not quite correct.                         1   A. Well, it is partially correct.
 2    Q. The conjoint analysis asked people to             2   Q. What is incorrect about it? What part is
 3       compare such cigarettes as a cigarette            3      not correct?
 4       that tasted like a regular but had health         4   A. You used the word -- you used "products"
 5       risks lower than an ultra light? That's           5      in the plural. To the best of my
 6       one possible type of cigarette that was on        6      recollection -- we can look at the survey
 7       the -- included in the conjoint analysis;         7      -- we asked consumers their perceptions of
 8       correct?                                          8      their current light cigarette.
 9    A. I -- we could look at the exact wording.          9   Q. Okay. You asked consumers their
10    Q. And did --                                       10      perception of their current light
11    A. And by answering the question, I don't           11      cigarette with regard to taste and with
12       want to state that that was the exact            12      regard to health risk; correct?
13       wording. However, the survey upon which          13   A. We asked consumers -- to the best of my
14       the conjoint analysis was based asked            14      recollection -- I can look at the survey
15       questions of that type.                          15      and answer it more accurately if you have
16    Q. And such product such as a product that          16      it in front of you.
17       tastes like a full-flavor cigarette or           17               MR. GROSSMAN: This was
18       regular cigarette but has risks lower than       18      previously marked. Do you know the
19       ultra light are not to your knowledge            19      number?
20       available on the market; is that correct?        20               (Discussion off the record.)
21    A. As we have established, I have not done a        21      BY MR. GROSSMAN:
22       complete study of the cigarette market and       22   Q. Dr Hauser, this is a copy of -- we would
23       each and every product that is available,        23      -- don't have the original exhibits with
24       and, therefore, I do not know whether or         24      us -- this is a copy of what was
25       not these products are currently                 25      previously marked as exhibit 7, which is

                                               Page 695                                                 Page 697
 1       available.                                        1      the so-called screen shots from your
 2    Q. It was not your intention to ask consumers        2      conjoint analysis. Okay?
 3       to make trade-offs only among products            3              (Handing exhibit number 7 to the
 4       that are actually available; is that              4      witness.)
 5       correct?                                          5   Q. And I am turning your attention, if I may,
 6    A. That's a little bit not correct.                  6      to page E20.
 7    Q. In their personal lives making actual             7              MR. GROSSMAN: I don't have my
 8       purchases, consumers make trade-offs              8      copy with me. Do you have another copy?
 9       between such factors as taste and                 9              Thanks. I'm sorry.
10       perceived risk in products that are              10              THE WITNESS: Okay.
11       actually marketed; is that correct?              11      BY MR. GROSSMAN:
12    A. Consumers make trade-offs or -- I have           12   Q. Do you see that?
13       studied categories in which consumers make       13   A. Again I would just like to get on the
14       trade-offs between perceived risks and           14      record that the original was in color and
15       other positive attributes.                       15      larger and easier to read, so any
16               If you -- I am sorry. I just             16      squinting I do should not be inferred that
17       forgot which attributes you gave.                17      consumers would do that.
18    Q. The conjoint survey, in addition to having       18   Q. Fine. The question reads: "Now let's
19       the conjoint part that asked consumers to        19      think about taste for a moment. Consider
20       make trade-offs among perceived health           20      the taste scale below where 100
21       risks, taste, package type, and cost,            21      represents" --
22       contained sections that asked consumers          22   A. Sorry. Sorry. Go ahead.
23       about their actual perceptions of                23   Q. -- "where 100 represents how much you like
24       actually-marketed products; is that              24      the taste of your brand of light
25       correct?                                         25      cigarettes. The higher the number on the

                                                                                            30 (Pages 694 to 697)
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 1       correct?                                          1      accounting, and conditioned upon the scale
 2    A. I have done an analysis which has been            2      being correct, et cetera, given that 100
 3       provided to you, in which I explored              3      represents how much you like the taste of
 4       median split analysis, which would be the         4      your brand of light cigarette, what is the
 5       precursor of potential weighting. I can't         5      value of the test scale, value on the test
 6       recall all the computations I did on that         6      scale from zero to 150, would you give to
 7       spreadsheet. So I do not recall whether I         7      regular cigarettes.
 8       actually went the next step and did the           8              A total of -- what was your
 9       weighting.                                        9      question? I'm sorry?
10               (One-page Chart marked exhibit           10   Q. A total of less than 2 percent of the
11                number 38 for identification.)          11      respondents indicated a preference for the
12       BY MR. GROSSMAN:                                 12      taste of regular cigarettes over light
13    Q. Let me hand you what has been marked for         13      cigarettes; correct?
14       identification purposes as Hauser exhibit        14   A. According to this document, basically you
15       number 38.                                       15      are reading now the cumulative number
16               (Handing exhibit number 38 to            16      98.09, which is less than 2 percent away
17       the witness and counsel.)                        17      from 100. So these 12 people are less
18               MR. HAUSFELD: Thank you.                 18      than 2 percent of the 627.
19               MR. GROSSMAN: You are welcome.           19   Q. And of the 627 respondents, 49
20    Q. This is a chart showing -- which I will          20      respondents, constituting less than 8
21       represent to you is taken from the -- is         21      percent of the whole, had no preference
22       taken from the CD-ROMs that you provided         22      between the taste of light cigarettes and
23       us in discovery, showing the spread among        23      regular cigarettes; correct?
24       respondents in answering that question on        24   A. To the extent that this is an accurate
25       the conjoint survey. All right?                  25      representation, 49 respondents provided a

                                               Page 703                                                 Page 705
 1    A. I -- I accept that for now. We -- there           1      rating of 100, which is a 7.81 percent of
 2       is a lot of details on here that I think          2      the 627 respondents.
 3       we, before you ask questions, we can go --        3   Q. Okay. And assuming the accuracy of this
 4       you can describe to me.                           4      representation of the CD-ROM that
 5    Q. In responding to the question which asked         5      contained the raw responses to your
 6       light smokers to compare the, on the taste        6      conjoint survey, more than 90 percent of
 7       scale, the taste of their brand of light          7      all current light smokers had a preference
 8       cigarettes to the taste of regular                8      for the taste of light over the taste of
 9       cigarettes, a total of 12 people out of           9      regular cigarettes; is that correct?
10       627 rated the taste of regular cigarettes        10   A. Say that again?
11       above 100; is that correct?                      11   Q. Of the 627 people who responded to your
12    A. Yes. Well, let me -- 12.                         12      conjoint survey, more than 90 percent
13    Q. Two percent, less than two percent, of all       13      indicated they preferred the taste of
14       respondents in your survey, in your              14      light cigarettes to the taste of regular
15       conjoint survey, indicated that they             15      cigarettes; correct?
16       preferred the taste of regular cigarettes        16   A. According to this document, which we are
17       to light cigarettes; is that correct?            17      currently accepting as correct,
18    A. Well, okay. You have represented that            18      90.27 percent gave a rating of 99 or less.
19       this is --                                       19   Q. In fact, more than 50 percent of the
20    Q. I am representing --                             20      respondents gave a rating of 50 or less;
21    A. Okay.                                            21      is that correct?
22    Q. -- that this is an accurate accounting           22   A. According to this document, which we're
23       of --                                            23      accepting as correct, there are 159
24    A. Okay. So conditioned upon this accurate          24      respondents, which cumulatively is
25       accounting, this being an accurate               25      57.10 percent, gave a rating of 50 or

                                                                                            32 (Pages 702 to 705)
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 1       less.                                             1   A. Not really. You know, I can't remember
 2    Q. Okay. Now in the actual world where               2      what they -- all the details of what they
 3       actual products are sold, those smokers           3      said.
 4       who prefer the taste of light cigarettes          4   Q. Did --
 5       were making no trade-off between better           5   A. It wasn't anything substantive.
 6       taste and lower risk in their purchase of         6   Q. In the last 15 minutes, including the time
 7       light cigarettes unless they believed that        7      of the break, did you discuss with
 8       light cigarettes posed more risk than             8      plaintiffs' counsel any answer that you
 9       regular cigarettes; is that correct?              9      have given in response to any question
10               MR. HAUSFELD: Compound.                  10      today?
11    A. Could you please break that question into        11   A. Any specific answer? No.
12       parts?                                           12   Q. Any general answer?
13    Q. Yes. Okay.                                       13   A. Yes. I asked why you changed from one
14               MR. GROSSMAN: In fact, let's             14      study to another.
15       take a two-minute break if we can.               15   Q. Did plaintiffs' counsel indicate to you
16               THE VIDEOGRAPHER: The time is            16      why they believed I changed from one study
17       11:31. We are off the record.                    17      to another?
18               (Recess taken at 11:31 a.m.)             18              MR. HAUSFELD: I don't
19               (Recess ended at 11:41 a.m.)             19      speculate.
20               THE VIDEOGRAPHER: We are back            20              MASTER KRANTZ: Let's let the
21       on the record. The time is 11:42.                21      witness answer.
22       BY MR. GROSSMAN:                                 22              MR. GROSSMAN: Let the witness
23    Q. Dr. Hauser, we just took a break. During         23      answer the question. I move to strike.
24       that break, did you confer with counsel          24      That is totally inappropriate.
25       for plaintiffs?                                  25              MASTER KRANTZ: Stricken. Let

                                               Page 707                                                Page 709
 1    A. Yes.                                              1      the witness answer the question, not the
 2    Q. Did you confer about your testimony in            2      attorney.
 3       this deposition?                                  3              THE WITNESS: They said you jump
 4    A. Just in general.                                  4      all over the place.
 5    Q. Did you confer about the question that I          5      BY MR. GROSSMAN:
 6       had just asked?                                   6   Q. Did you discuss any other question that
 7    A. Not really. No.                                   7      might be presented today?
 8    Q. What did you discuss?                             8   A. Not that I recall. I mean I have got to
 9    A. Oh, pushing short-term memory here.               9      admit we were talking more about health
10               (Pause.)                                 10      issues and yoga.
11    A. I think they just told me to keep                11   Q. Dr. Hauser, looking again at exhibit 38 --
12       answering -- answering the questions; you        12   A. Which one?
13       know, be careful; listen to what you're          13   Q. The one in front of you.
14       saying. That type of thing. I'm sorry.           14   A. This one. Okay. Thank you.
15       I don't recall all the details.                  15   Q. When you completed -- when the survey --
16               MR. HAUSFELD: We asked him to            16      the conjoint survey -- I will start this
17       fix his collar on his suit.                      17      question again.
18               THE WITNESS: See. I even                 18              When the conjoint survey was
19       forgot that. And Miss, Ms., Mrs.? --             19      completed, did you run a calculation of
20               MS. ROSENBERG: Ms.                       20      the answers that respondents gave to the
21               THE WITNESS: -- Rosenberg asked          21      question of how they would rate regular
22       me to fix my collar.                             22      cigarettes and taste compared to their
23       BY MR. GROSSMAN:                                 23      brand of light cigarettes?
24    Q. Did you discuss any of the substantive           24   A. How they would rate? State that again?
25       testimony you have given thus far?               25   Q. Did you run any analysis of the answers

                                                                                           33 (Pages 706 to 709)
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 1       for a hypothetical person. And the person         1      can say so.
 2       has a positive preference for taste.              2      BY MR. GROSSMAN:
 3    Q. Yes.                                              3   Q. You have asked -- you asked the
 4    A. Okay.                                             4      respondents on a scale of zero to 150 plus
 5    Q. Do you know anybody who doesn't have a            5      what value they would give to the taste of
 6       positive preference for taste? Have you           6      regular cigarettes if the taste of light
 7       ever met --                                       7      cigarettes were valued at 100.
 8               MR. HAUSFELD: On anything?                8              Is it not your common
 9    Q. Have you, in your life, have you ever met         9      understanding that, all things being
10       anyone who says, you know, I think I             10      equal, people prefer taste, things that
11       prefer things that really taste lousy as         11      they say taste better, to things that they
12       opposed to things that I think really            12      say taste worse?
13       taste good?                                      13   A. In most situations, people will prefer,
14    A. Taste is a very complex entity. I have           14      all else being equal, things that they
15       noticed you have drunk a lot of Diet Coke.       15      taste -- that taste better to things that
16       I don't know your preference between             16      taste worse.
17       regular Coke and Diet Coke. I could ask          17   Q. Okay. And now you say, "All other things
18       that. You are making trade-offs.                 18      being equal"?
19               Yesterday, and I can give lots           19   A. In most situations.
20       of examples, where I was asked to try            20   Q. In most situations, if cigarette consumers
21       something that, you know, tastes                 21      believe that the health risks of light
22       astringent, but yet --                           22      cigarettes are the same or lower than the
23               MR. GROSSMAN: Move to strike as          23      health risks of regular cigarettes, they
24       nonresponsive.                                   24      will opt for the cigarette -- for the
25       BY MR. GROSSMAN:                                 25      light cigarette if they think it tastes

                                               Page 723                                                 Page 725
 1    Q. Do you know --                                    1      better; right?
 2               MASTER KRANTZ: Could I suggest            2   A. I don't agree with that statement. There
 3       you pose a different question than whether        3      is a lot of other issues going on here. I
 4       in his ordinary life he knows people who          4      -- I am -- I am sorry I am being technical
 5       don't care about taste?                           5      here, but, you know, you are going into
 6               MR. GROSSMAN: Well, the problem           6      technical areas, and I can do my best to
 7       is that these -- the -- I will address it         7      explain this.
 8       to the witness.                                   8   Q. What is the counterveiling consideration
 9       BY MR. GROSSMAN:                                  9      against a cigarette tasting better if the
10    Q. You have asked people to place -- to             10      same consumer perceives that the cigarette
11       indicate what they taste -- what they            11      is either less dangerous or equally
12       thought tasted better: a regular                 12      dangerous than the cigarette that tastes
13       cigarette or a light cigarette. And they         13      worse?
14       have answered on a scale of zero to 150          14   A. Okay. I'll grant that most people will
15       plus.                                            15      have a positive preference for taste. I
16               Is it your --                            16      will also grant that most people have a
17               MR. HAUSFELD: I don't believe            17      positive preference for health risk. You
18       that was the -- he -- that's what the            18      may recall that in the survey, not
19       question is in terms of the use of the           19      everybody did. And I have to be careful
20       word "better," but.                              20      about that.
21               MR. GROSSMAN: Move to strike as          21               I will also grant that in most
22       -- move to strike the colloquy.                  22      cases there are no interactions. We
23               MASTER KRANTZ: Allow the                 23      tested for them, and there did not appear
24       witness to answer the question. If he            24      interactions.
25       disagrees with the characterization, he          25               You have now also stated that

                                                                                            37 (Pages 722 to 725)
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 1       there is a cerebus paribus or all else           1      hypothetical, people would prefer the
 2       equal statement here. So to the extent           2      cigarette that you have labeled as light.
 3       that you allow me to make those                  3   Q. Okay. And, Dr. Hauser, have you studied
 4       assumptions, okay, and to the extent that        4      the actual sales of light cigarettes in
 5       we don't have sort of a learning of taste        5      the United States?
 6       over time, which is something that I             6   A. To the extent that the survey that was
 7       didn't measure, then given the                   7      done upon which the conjoint analysis is
 8       hypothetical, consumers would prefer one         8      based, there are some data on current
 9       of these to the others, and that's given         9      brands of cigarettes. Other than that and
10       -- that is fully conditioned on all those       10      other than the materials that you have
11       hypotheticals and fully conditioned on all      11      provided to me previously, I have not done
12       of the assumptions you have now allowed me      12      any further study of the sales of light
13       to make.                                        13      cigarettes.
14    Q. And the one that we would prefer would be       14   Q. Okay. And just to clarify this, you were
15       the light; correct?                             15      provided with a copy of Monograph 13 by
16    A. Well, conditioned upon this hypothetical,       16      the plaintiffs you have testified earlier?
17       as you have stated, the one they would          17   A. Right. There is Monograph 13; there is
18       prefer would be the light cigarette.            18      some of the materials in this packet that
19    Q. And that's because assuming that there are      19      I brought with me this morning. There
20       no counterveiling considerations and all        20      might be -- I just can't remember all the
21       other things being equal and there are no       21      materials that have been previously given.
22       unmeasured interactions, if the cigarette       22      Some of these may contain materials about
23       tastes better in the consumer's perception      23      sales, and, of course, there are data
24       and it is no more dangerous in the              24      that, you know, it is not meant to be a
25       consumer's perception, all of the factors       25      study of sales.

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 1       point to smoking the cigarette that tastes       1               MR. GROSSMAN: Move to strike as
 2       better, the light cigarette; correct?            2      nonresponsive.
 3    A. Well, your hypothetical has a choice now         3               MASTER KRANTZ: I think you have
 4       among two particular cigarettes. I don't         4      answered the question.
 5       want to project that if there are other          5               THE WITNESS: Okay.
 6       cigarettes they are choosing among. Okay?        6      BY MR. GROSSMAN:
 7       So given those two particular cigarettes,        7   Q. Monograph 13 was published in 2001;
 8       given the hypotheticals that you have            8      correct?
 9       stated, then consumers would prefer this         9   A. To the best of my recollection. If you
10       one cigarette that is light on taste and        10      will let me take a look at it, I will look
11       light on health risk, given --                  11      at the dates.
12    Q. Or the same --                                  12   Q. Let's -- accept my representation that it
13    A. -- the preference orders and given the          13      was published in 2001.
14       assumptions we have made.                       14               Have you studied the effect on
15    Q. Or the same on health risks?                    15      sales of light cigarettes by the
16    A. Okay. Given the assumption of light             16      publication of Monograph 13?
17       preferred to regular on taste, given the        17   A. I am sorry. Can you say that again?
18       assumption of lights weakly -- regular          18   Q. Since the publication of Monograph 13, has
19       weakly preferred to lights, meaning it is       19      the sales of light cigarettes gone up or
20       greater than or equal to, on health risk,       20      down? Do you know?
21       given that there are no interactions,           21   A. Sitting here today, I do not know whether
22       given positive preference for taste, given      22      or not the total sales of light cigarettes
23       positive preference for lower health risk,      23      have gone up or whether or not they have
24       and given a choice among those two and          24      gone down or whether or not they have
25       only those two products, then that              25      stayed the same.

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 1    Q. Sitting here today, do you know whether          1   A. Not the entire thing.
 2       the percentage of cigarette sales in             2   Q. Do you recall -- and you received a copy
 3       America that were sales of cigarettes            3      of it from plaintiffs' counsel; correct?
 4       labeled as light went up, down, or stayed        4   A. I -- I received a copy of it. I, as I
 5       the same following the publication of            5      recall, I'm not totally sure how it got to
 6       Monograph 13?                                    6      me.
 7    A. Okay. Just so we're not ambiguous here, I        7   Q. You have no reason to believe that it came
 8       do not know the percentage of sales of           8      from any source other than plaintiffs'
 9       light cigarettes as compared to other            9      counsel, do you?
10       cigarettes on the marketplace, sitting          10   A. I do not recall where it came from. So I,
11       here today, and I do not know that              11      therefore, have no -- no reason to believe
12       percentage with respect to either volume        12      that it is not the plaintiffs' counsel.
13       or dollar share.                                13   Q. Okay. Now do you recall when you received
14    Q. Okay. Dr. Hauser, let me direct your            14      your copy?
15       attention, if I may, to the opinion of          15   A. No. I'm sorry. I do not.
16       Judge Weinstein on the motion for summary       16   Q. When was the first -- this statute of
17       judgment on statute of limitations,             17      limitations decision at page 10 contains
18       previously marked as exhibit number 33.         18      the following language --
19               MR. GROSSMAN: Let me get mine           19   A. Where? Where are you reading?
20       out here.                                       20   Q. "Continuing problems"?
21               (Pause.)                                21   A. Okay.
22               MR. HAUSFELD: I have a copy if          22   Q. "A troubling critical problem for
23       you would like me to --                         23      plaintiffs is that some members of the
24               MR. GROSSMAN: I have my copy.           24      class almost certainly were aware long
25    Q. Doctor, if you would look on the last page      25      before 2000 that 'light' cigarettes were

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 1       of this, it is dated October 6, 2005. Do         1      not appreciably safer for them than
 2       you have your -- there is a marked copy in       2      regular cigarettes. The statute would bar
 3       there.                                           3      their claims."
 4               (Handing exhibit number 33 to            4              Do you see that?
 5       the witness.)                                    5   A. Yes. I see those words.
 6    Q. Here is exhibit number 33.                       6   Q. Do you recall having read that in the
 7               MR. HAUSFELD: Thank you.                 7      past?
 8    A. Thank you. I am sorry. Which page?               8   A. Yes. I probably did read that.
 9    Q. Do you see on the last page this was dated       9   Q. Okay. Continuing --
10       October 6, 2005?                                10   A. I don't recall too much of it.
11               MASTER KRANTZ: I think it is            11   Q. "Yet the plaintiffs may be able to show
12       the second to last page of that document.       12      that a substantial number of smokers were
13               MR. GROSSMAN: Oh, the last page         13      not aware before May 2000. The individual
14       is the cover sheet on your copy. I see.         14      class members and their times of awareness
15       BY MR. GROSSMAN:                                15      may well have differed over the years.
16    Q. The second to last page, do you see that        16      Suppose, for example, that one million
17       it was marked -- dated October 6, 2005?         17      became aware in 1998, one million in 1999,
18    A. Yes, I do.                                      18      one million in 2000, and one million in
19    Q. Now, Dr. Hauser, you testified at the           19      2001. The first two million 1998 to 1999
20       first session of your deposition that this      20      would be barred. The third (2000) could
21       statute of limitations opinion of               21      be deemed damaged for a year or less, and
22       Judge Weinstein was one of your reliance        22      the fourth (2001) for somewhat more of a
23       materials?                                      23      year. According to plaintiffs' theory of
24    A. Well, I read part of it.                        24      the case, the particular persons in each
25    Q. Did you --                                      25      group cannot be known.

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 1       this. So those two sets of analyses              1      you would focus on the question in
 2       together, we were -- I was able -- that          2      answering just the question, we would make
 3       was the role of the pretests, but I would        3      more progress.
 4       like to include the qualitative --               4      BY MR. GROSSMAN:
 5    Q. Okay.                                            5   Q. You did approve it, didn't you?
 6    A. -- in there as well.                             6   A. Within the context as I have described, I
 7    Q. Leaving the -- adding in the qualitative         7      approved it.
 8       interviews as well, the qualitative              8   Q. It wouldn't have gone ahead if you didn't
 9       interviews and the pretests of the time          9      approve it, would it?
10       study ensured that the respondents              10   A. The survey would not have gone ahead if I
11       understood the descriptions, instructions,      11      did not approve the next stage.
12       and questions and that their answers            12   Q. Okay.
13       adequately represented their beliefs;           13              MR. GROSSMAN: Excuse me one
14       correct?                                        14      moment. We're getting all sorts of sounds
15    A. The word, the key word here, is "belief,"       15      over the telephone. Could you turn on the
16       but yes, this is, the questions are             16      mute, please?
17       understood, and respondents state to their      17              MR. KOETHE: Julie?
18       best of ability --                              18              MS. FISCHER: Ted?
19    Q. Okay.                                           19              MR. GROSSMAN: Yes.
20    A. -- their beliefs.                               20              MS. FISCHER: The mute is on.
21    Q. And you would not have approved the             21              MR. GROSSMAN: We are getting
22       conduct of the survey, the actual survey,       22      all sorts of typing sounds.
23       in late November and early December 2006        23              MS. FISCHER: That is odd,
24       unless you believed that the pretest had        24      because the mute is on.
25       ensured that the respondents could answer       25              MR. GROSSMAN: Well, you are

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 1       the questions by understanding the               1      creating electrical signals that are being
 2       questions and give -- and able to -- and         2      picked up by the --
 3       were able to reflect their true beliefs          3              MS. FISCHER: All right.
 4       with regard to the questions; is that            4              THE WITNESS: Can I make a
 5       correct?                                         5      request?
 6    A. Well, it mischaracterizes the process a          6              MR. GROSSMAN: Now --
 7       little bit.                                      7              THE WITNESS: That at some point
 8    Q. Doctor, you approved going forward with          8      we can just lower the heat a little bit.
 9       the survey in late November and early            9      You guys have got your jackets off.
10       December 2005; is that correct?                 10              MR. GROSSMAN: When we take a
11    A. At the time I approved going forward with       11      break, we will do what we can.
12       the survey, I believed that respondents         12              THE WITNESS: Okay.
13       could understand the questions. I thought       13      BY MR. GROSSMAN:
14       there was a very good chance -- or I            14   Q. Dr. Hauser, could you return with me to
15       wouldn't have gone ahead with it -- that        15      exhibit number 39?
16       the answers would make sense. I wasn't          16   A. Which one is 39?
17       totally sure of that at the time. I had         17   Q. 39 is the series of e-mails. You had it a
18       my doubts. But I thought that we would          18      moment ago.
19       have a good chance of getting answers that      19              (Witness complying.)
20       would be internally consistent.                 20   A. This is it?
21                MASTER KRANTZ: Just to move            21   Q. Yes. Could you look with me at the page
22       things along, the question was whether you      22      that is marked at the bottom 008?
23       approved it.                                    23              (Witness complying.)
24                THE WITNESS: Okay.                     24   Q. This is an e-mail from Paul Gallagher to
25                MASTER KRANTZ: And I think if          25      Steve Gaskin, correct, on its face?

                                                                                           50 (Pages 774 to 777)
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 1    A. This appears to be an e-mail from Paul          1      you have seen the e-mail. Leaving aside
 2       Gallagher to Steve Gaskin, November 11th.       2      whether you saw the e-mail, was it your
 3    Q. 2005?                                           3      understanding as the questionnaire was
 4    A. 2005.                                           4      evolving through pretest that plaintiffs'
 5    Q. Have you ever seen --                           5      counsel were commenting on the drafts of
 6    A. Can I read it?                                  6      the questionnaire?
 7    Q. Excuse me. Sure.                                7   A. You know, I don't know. Certainly if they
 8              (Pause.)                                 8      would have given comments as to whether or
 9              (The witness viewing exhibit             9      not they felt the questions were accurate,
10       number 39.)                                    10      I would have responded. My goal is to
11    A. Yes. I see this.                               11      write accurate questions. But I don't
12    Q. Have you seen it before?                       12      recall all the details of -- I mean I do
13    A. No, I have not seen this before.               13      know that I was writing questions and with
14    Q. All right. This indicates that                 14      Mr. Gaskin attempting to phrase these as
15       Mr. Gallagher used a link that was sent to     15      accurately as possible. That much I do
16       him, and it worked. I am reading, "A           16      remember. So I do not know to what extent
17       couple of minor items that I assume are        17      counsel provided suggestions as to the
18       the result that this is just a pretest:        18      wording of the questions.
19       it was very slow between screens               19   Q. You don't know one way or the other?
20       (sometimes I even thought my computer had      20   A. I don't recall. No. I just don't recall.
21       locked up) and there are spelling and          21   Q. Could you turn with me to number 007 in
22       typing errors in the questions."               22      exhibit number 39?
23              Do you see that?                        23              (Witness complying.)
24    A. Yes. This sounds like a survey in              24   Q. And that's an e-mail from Paul Gallagher
25       process.                                       25      to Steve Gaskin, which reads: "Hi Steve.

                                             Page 779                                                Page 781
 1    Q. Yes. A pretest of the time survey;              1      Could you and me and John have a call to
 2       correct?                                        2      finalize the approach to the survey,
 3    A. Yes.                                            3      preferably tomorrow, but if not, maybe on
 4    Q. The next paragraph: "The bigger issue           4      Thursday or Friday."
 5       seems to be that the survey doesn't get to      5              Do you see that?
 6       the questions we want to answer, i.e.,          6   A. I see that.
 7       when you began smoking did you believe the      7   Q. Have you seen this e-mail before?
 8       cigarettes were less harmful; did that          8   A. I don't appear to be copied on it, so I
 9       change at any time; if you no longer            9      don't recall.
10       believe they are less harmful, do you know     10   Q. Now could you turn with me to what has
11       when you first began to suspect this; and      11      been marked as 006?
12       when did you first hear/suspect/believe        12              (Witness complying.)
13       that the cigarette companies may have          13   Q. Or even better yet, let's go to 005,
14       committed a fraud regarding light              14      page 005, which is a series of e-mails on
15       cigarettes."                                   15      Tuesday, November 15th, and Wednesday,
16               Do you see that?                       16      November 16th, 2005.
17    A. I see that sentence.                           17              (Witness complying.)
18    Q. Okay. Was it your understanding as the         18   Q. Do you see the first is an e-mail from
19       questionnaire for the time survey was in       19      Paul Gallagher to you and Steve Gaskin?
20       pretest that plaintiffs' counsel was           20      The first staying at the top of the page.
21       commenting upon the questionnaire as it        21      It is not the first chronologically.
22       was evolving?                                  22   A. Oh, okay. I am sorry. I was looking at
23    A. This is the first time I have seen this        23      the bottom of the page.
24       e-mail.                                        24              Yes. There is an e-mail at the
25    Q. Would -- I understand it is the first time     25      top of the page from Paul Gallagher to me

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 1       and to Steve Gaskin.                              1      survey?
 2    Q. Okay. You are right. It is better to              2   A. I recall having a conference call -- I --
 3       start at the bottom so we are                     3      I -- I am sorry -- I recall having
 4       chronological.                                    4      conference calls during this period. I do
 5               The earliest of the e-mails on            5      not recall the specific dates I had these
 6       this page is from November 15, 2005, at           6      conference calls. I do know that we
 7       7:04 p.m.; right?                                 7      discussed the surveys during this period.
 8    A. It seems to be about right. Yes.                  8   Q. Is it your general practice to allow
 9    Q. And that is an e-mail in which Steve              9      attorneys to have an input into the
10       Gaskin writes to Paul Gallagher, "I am not       10      wording or formulation of surveys that you
11       available until Thursday and Friday, but         11      perform as an expert witness?
12       free anytime then." And then says,               12   A. Well, that's a mischaracterization. I --
13       "John."                                          13   Q. I am asking you whether it is your normal
14               And then below that, it says, "I         14      practice.
15       am heavily blocked tomorrow and have to go       15   A. As a survey expert, I am -- you are asking
16       to an MIT Sloan Retreat on Friday.               16      for my normal practice?
17       (However, there is a chance it will end          17   Q. Yes.
18       early.)                                          18   A. So as a survey expert, counsel will ask me
19               "On Thursday I have some time            19      certain questions. I will then do my best
20       open between 2 and 4 p.m. Later in that          20      to take those questions, which are usually
21       time frame, e.g., 3 p.m. would be better."       21      legal questions, did X do Y, you know,
22               Do you see that?                         22      when did consumers do what -- do this,
23    A. I see that.                                      23      et cetera, and turn that into a scientific
24    Q. That is your response; is that correct?          24      study.
25    A. That's my response. I am heavily booked,         25              I -- as I would do as an expert

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 1       and there appears to be about an hour --          1      or even in nonlitigation context, I would
 2    Q. Okay.                                             2      then make sure that I'm checking with the
 3    A. -- that I can devote to this.                     3      clients to find out whether the questions
 4    Q. So do you recall having met on the                4      I'm asking consumers will answer the
 5       telephone or otherwise with Paul Gallagher        5      questions that are appropriate to them as
 6       and Steve Gaskin in mid November to               6      clients, in other words, the questions
 7       discuss the wording and general approach          7      that are legally appropriate to answer.
 8       to the survey that was being pretested?           8      They're not going -- I'm not going to let
 9    A. As I've said, I have recalled conference          9      them dictate exactly how I ask these
10       calls. I don't recall all the content of         10      questions nor get into the science of the
11       this. It appears from this e-mail that --        11      study.
12       where was the statement?                         12              However, as consumers -- as
13    Q. The original string is from November 15th,       13      people, if they say, "Gee, this question
14       and it's on page 008.                            14      is ambiguous," or "I have a hard time
15    A. Well, 008 is not an e-mail that I have           15      reading it," or "I don't understand it," I
16       seen before, so.                                 16      will certainly take that as input, because
17    Q. And on 007, there is a request, could            17      as a survey expert, I want to listen to as
18       Steve and Paul and you have a call to            18      much input as I possibly can from
19       finalize the approach to the survey?             19      consumers and other people.
20    A. I also haven't seen this e-mail prior to         20              So my normal practice is to
21       this time.                                       21      listen to everybody I can, integrate that
22    Q. Whether you saw it or not, do you recall         22      input, and try and write a survey that
23       having a discussion, November 17, 18, 19         23      will answer the question as posed to me by
24       time frame, with Paul Gallagher and Steve        24      the client.
25       Gaskin to finalize the approach to the           25   Q. Now in your expert report, you

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 1       better methodology than the time study, as       1      chosen by white Americans, you don't know
 2       I have indicated in this issue of                2      about those differences; correct? And you
 3       incentives, but I do not recall all the          3      didn't study them; correct?
 4       details of the racial breakdown, nor do I        4   A. Okay. If I understand the question, you
 5       think they're relevant.                          5      are asking me did I study the differences,
 6    Q. You don't think they are relevant because        6      other than what I have seen already
 7       you have never read any literature on the        7      presented to me in this case or presented
 8       effect of race on smoking patterns in the        8      to Mr. Gaskin, did I study the differences
 9       United States; isn't that correct?               9      in respondents' or consumers' choice of
10    A. Are you asking me why I think --                10      brand based upon race? I -- is that the
11    Q. No. I am saying you have never read any         11      right question?
12       literature --                                   12   Q. Yes.
13               MR. HAUSFELD: No. That is not           13   A. Okay. I have not studied the choice of
14       the question.                                   14      brand and how the brand choice is affected
15               MR. GROSSMAN: I am asking a new         15      by race.
16       question.                                       16   Q. And you have, similarly, you have not
17               MR. HAUSFELD: Well, then --             17      studied the choice between light and what
18               MASTER KRANTZ: The last                 18      you call regular cigarettes in the white
19       question --                                     19      community versus the African-American
20               MR. GROSSMAN: Keep quiet.               20      community; is that correct?
21               MASTER KRANTZ: Excuse me. No            21   A. Well, I'm not -- why did you use "you
22       colloquy. The last question is withdrawn?       22      call"?
23               MR. GROSSMAN: Yes.                      23   Q. "You call"?
24               MASTER KRANTZ: Pose a new               24   A. You said, "What I call." You used the
25       question.                                       25      words, "You call."

                                              Page 803                                                 Page 805
 1               MR. HAUSFELD: That is all I was          1   Q. What you referred to in your survey as
 2       going to ask, your Honor.                        2      regular cigarettes.
 3               MR. GROSSMAN: The record is              3   A. Okay. In my survey refers appropriately
 4       clear.                                           4      within context to regular cigarettes.
 5               MR. HAUSFELD: There is no                5              MR. GROSSMAN: Move to strike as
 6       reason for unprofessional conduct in             6      nonresponsive.
 7       telling anyone, counsel or otherwise, to         7              MASTER KRANTZ: That is not
 8       keep quiet.                                      8      worth getting into a debate about the term
 9               MR. GROSSMAN: That wasn't                9      that you are debating.
10       unprofessional. It was appropriate. Now         10              THE WITNESS: Right.
11       I will continue.                                11              MASTER KRANTZ: I think the
12               MASTER KRANTZ: Again we started         12      question is clear. Do you want to reread
13       the deposition with a suggestion of             13      the question? Do you want to repose the
14       limited colloquy, and I stick with that         14      question?
15       suggestion.                                     15              MR. GROSSMAN: Why don't you
16               MR. GROSSMAN: All right.                16      reread the question.
17       BY MR. GROSSMAN:                                17              (The reporter then read back as
18    Q. Dr. Hauser, have you ever read any              18      follows:
19       publication, by the surgeon general or          19              "Question: And you have,
20       otherwise, on the effect of race on             20      similarly, you have not studied the choice
21       smoking patterns in the United States?          21      between light and what you call regular
22    A. Not that I can recall.                          22      cigarettes in the white community versus
23    Q. Okay. So if there are enormous                  23      the African-American community; is that
24       differences between the cigarettes chosen       24      correct?")
25       by black Americans and the cigarettes           25              THE WITNESS: Could you reask

                                                                                           57 (Pages 802 to 805)
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                                               Page 822                                                 Page 824
 1    Q. 30.                                               1      your own by reading the New York Times
 2    A. Okay.                                             2      historically or other newspapers
 3    Q. And in particular, I would like to direct         3      historically or going online or through
 4       your attention to paragraph number 96.            4      any other means to determine whether the
 5                (Witness complying.)                     5      public health community reached a
 6    Q. This document contains further rewriting          6      consensus prior to October -- prior to
 7       and writing over of the draft that we             7      2001 that light cigarettes had the same
 8       previously identified as exhibit 37 dated         8      health risk as regular cigarettes;
 9       December 16, 2005; is that correct?               9      correct?
10    A. This document is the continuing to evolve        10   A. Because I was running out of time and
11       this document. It is one of three files          11      because I did not feel a need to at the
12       that you have been provided.                     12      point, I did no further analysis at the
13    Q. One of three files? Excuse me? That?             13      time I wrote this paragraph.
14    A. That you have been provided.                     14   Q. Okay. The next sentence: "If this is the
15    Q. Okay. I didn't hear it.                          15      case and if respondents did not have a
16                Looking at paragraph 96, "I am          16      means to form these beliefs prior to 2001,
17       informed by that the public health               17      then it appears that respondents are
18       community did not reach a consensus that         18      either telescoping their responses to
19       'light' cigarettes had the same health           19      earlier dates, remembering other events,
20       risk as regular cigarettes until                 20      or some other reporting error."
21       approximately 2001"?                             21              If this is the case, you are
22    A. Yes. I see that sentence.                        22      accepting that first sentence to be true
23    Q. "If this is the case and if respondents          23      conditionally; correct?
24       did not have a means to form these beliefs       24   A. That's what the words say. Yes.
25       prior to 2001, then it appears that              25   Q. Okay.

                                               Page 823                                                 Page 825
 1       respondents are either telescoping their          1   A. I am.
 2       responses to earlier dates, remembering           2   Q. Next: "...if respondents did not have a
 3       other events, or some other reporting             3      means to form these beliefs prior to
 4       error. Furthermore, these effects appear          4      2001," who if anyone told you that
 5       to be greater for less confident                  5      respondents did not have a means to form
 6       respondents"?                                     6      these beliefs prior to 2001?
 7    A. Yes. I see those two sentences.                   7   A. The second sentence refers to the first
 8    Q. Okay. First of all, who informed you that         8      sentence. The second -- the first
 9       the public health community did not reach         9      sentence, as I have testified, and I put
10       a consensus that light cigarettes have the       10      into words, "I am informed," I said that
11       same health risk as regular cigarettes           11      this is information that I don't have time
12       until approximately 2001?                        12      to check out. This is going to be the
13    A. Okay. This was in response to some               13      responsibility of other experts. And,
14       questions I had asked. Mr. Gallagher told        14      therefore, I put the conditional in.
15       me that other experts would testify to           15   Q. Okay. Now I am referring to the phrase,
16       this information.                                16      "if respondents did not have a means to
17    Q. So this information comes exclusively from       17      form these beliefs prior to 2001." Do you
18       Mr. Gallagher; is that correct? That is          18      see that phrase?
19       the only basis of information for that           19   A. Yes. I see that phrase.
20       first sentence, "I am informed that the          20   Q. Did anyone suggest or tell you -- to you
21       public health community..."?                     21      or tell you that respondents did not have
22    A. Well, I am informed, yes. Mr. Gallagher          22      a means to form their beliefs that light
23       said there is information, and that is why       23      cigarettes had the same health risks as
24       I put this caveat in there.                      24      regular cigarettes prior to 2001?
25    Q. And you made no independent research of          25   A. This sentence refers to the first

                                                                                            62 (Pages 822 to 825)
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                                              Page 850                                                Page 852
 1       basis to challenge the results of that           1      did come to -- actually he must have come
 2       survey --                                        2      through Boston, but I met him in Waltham.
 3    A. Is that what you asked?                          3   Q. In Waltham. Did you have any conversation
 4    Q. -- that is cited in Monograph 13. Yes.           4      on the telephone with Mr. Gallagher about
 5    A. Oh, as I said, I have not studied that           5      the draft report prior to his arrival?
 6       survey, so I cannot comment upon its             6   A. We have already -- we have gone over this.
 7       methodology.                                     7      You know, I have spoken to him.
 8    Q. Okay. And you have no basis to challenge         8   Q. Let me refine the question. Did you
 9       the finding that 32.2 percent of light           9      provide Mr. Gallagher with access to your
10       smokers in 1987 -- let me go back.              10      draft report prior to his arrival in
11               You neither endorse nor                 11      Waltham on December 16th?
12       challenge the finding reported here that        12   A. I don't recall. If --
13       32.2 percent of light smokers in a 1987         13   Q. Did --
14       survey believe that light smokers reduced       14   A. If we provided it, we provided it to you.
15       the risk of cancer -- low-tar cigarettes        15   Q. Did you personally speak with
16       reduced the risk of cancer versus regular       16      Mr. Gallagher about the findings that you
17       cigarettes; correct?                            17      had tentatively arrived at in your draft
18    A. Although the author of this report implies      18      report prior to his arrival on
19       that there is a different interpretation,       19      December 16, 2005?
20       I personally have no basis to which to          20   A. I don't recall when I spoke to
21       evaluate whether or not this survey used        21      Mr. Gallagher about some of the
22       appropriate methodology.                        22      uncertainty that I was having with respect
23    Q. Now you are familiar with Mr. Gaskin's          23      to this report. The word "findings" at
24       testimony. Do you recall he testified           24      this point in a developing -- well, I
25       that on or about Friday, December 16,           25      don't think the word "findings" is

                                              Page 851                                                Page 853
 1       2005, Mr. Gallagher came to Boston to            1      accurate.
 2       discuss the time survey?                         2              MASTER KRANTZ: I think the
 3               MR. HAUSFELD: Wait. Page and             3      language was tentative findings.
 4       line, please?                                    4              THE WITNESS: Or tentative
 5               MR. GROSSMAN: It goes from               5      findings.
 6       page 218 to 265. It is throughout that.          6              I, you know -- even tentative.
 7               MR. HAUSFELD: Page?                      7      I really was conflicted about this, and --
 8       BY MR. GROSSMAN:                                 8              MR. GROSSMAN: I will rephrase
 9    Q. But I would like -- are you generally            9      the question.
10       familiar with that testimony? You read          10              MR. HAUSFELD: Objection.
11       that testimony?                                 11      Please let the witness finish.
12    A. I am generally familiar with Mr. Gaskin's       12              MASTER KRANTZ: I think at this
13       testimony. I have certainly not memorized       13      point the witness is not being responsive,
14       each and every line, and if you are now         14      so pose a new question.
15       asking me to remember --                        15      BY MR. GROSSMAN:
16    Q. I am not asking you -- I am not asking you      16   Q. Did you personally communicate to
17       to.                                             17      Mr. Gallagher any of the results of the
18    A. Okay.                                           18      survey that you conducted in late November
19    Q. Do you recall Mr. Gallagher coming to           19      and early December of 2005 prior to
20       Boston on or about December 16, 2005?           20      Mr. Gallagher's arrival in Waltham on
21    A. Okay. December 16th is a Friday; right?         21      December 16th?
22    Q. Yes. That's right.                              22   A. I do not recall any -- the details of what
23    A. Okay. December -- Mr. Gallagher came to         23      I communicated to Mr. Gallagher about
24       Boston. I can't remember whether I asked        24      preliminary analyses, which would be
25       him to come or not. I might have. But he        25      numeric, coming out of this, nor do I

                                                                                          69 (Pages 850 to 853)
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 1       details. So I guess I have to answer I            1   A. -- did I make any reference to the
 2       don't recall --                                   2      findings?
 3       BY MR. GROSSMAN:                                  3   Q. Any of the findings in the time survey or
 4    Q. Okay.                                             4      any of the calculations -- any of the
 5    A. -- but, you know, if I -- at some point,          5      numbers that came out of the time survey?
 6       you know, sometimes things come to you,           6   A. Well, I do conclude that I was basically
 7       and you kind of remember them, in which           7      losing confidence in the -- have lost at
 8       case I will be glad to tell you. I am             8      this point confidence that there is
 9       really trying hard here.                          9      sufficiently accurate to make a full
10               MASTER KRANTZ: You are being             10      opinion, which also reflects the fact that
11       asked for your recollection as you sit           11      I basically had no time to complete any
12       here today.                                      12      analyses further than that.
13               THE WITNESS: Okay.                       13              MR. GROSSMAN: Move to strike.
14       BY MR. GROSSMAN:                                 14   A. So I did not make --
15    Q. Doctor, Dr. Hauser, we previously have           15              MASTER KRANTZ: That is a
16       marked as --                                     16      nonresponsive answer.
17               MR. GROSSMAN: What was the               17              THE WITNESS: Okay.
18       submitted -- 35?                                 18              MASTER KRANTZ: I think the
19    Q. Could you take out exhibit 35, please?           19      question was simply -- really implicit in
20               (Witness complying.)                     20      your prior answer, I think, is footnote 2
21               MR. HAUSFELD: It's your report.          21      the reference to the time survey in this
22               THE WITNESS: Can we move this?           22      report, if I understood your answer.
23               MR. GROSSMAN: Sure.                      23              MR. HAUSFELD: Your Honor,
24               (Handing the laptop computer             24      having little confidence is a finding.
25       back to Mr. Koethe.)                             25              MASTER KRANTZ: I am sorry?

                                               Page 859                                                  Page 861
 1    A. 35. It is a different version.                    1              MR. HAUSFELD: Having, as he
 2    Q. Dr. Hauser, you are looking at exhibit            2      says, little confidence that the responses
 3       number 35, which is the report that you           3      would be sufficiently accurate is
 4       signed and was served upon defendants on          4      essentially a finding.
 5       December 19, 2005?                                5              MASTER KRANTZ: The footnote
 6    A. Yes.                                              6      says what it says.
 7    Q. The only reference in that report to the          7              MR. HAUSFELD: He asked for a
 8       time survey is at footnote 2; is that             8      finding.
 9       correct?                                          9              MASTER KRANTZ: I believe the
10              (Pause.)                                  10      testimony was, if I heard you correctly,
11              (The witness viewing exhibit              11      that footnote 2 was the only reference to
12       number 35.)                                      12      the time survey in this report.
13    Q. I am sorry. Is at footnote -- footnote 2?        13              THE WITNESS: I think he asked a
14    A. Footnote 2.                                      14      different question.
15    Q. Now, Dr. Hauser, --                              15              MASTER KRANTZ: Is that correct,
16    A. I am a little worried about some of the          16      that is the only reference in this report?
17       wording there, but that's okay.                  17              THE WITNESS: To the best of my
18    Q. In footnote 2, you made no reference to          18      recollection, this is the only reference,
19       any of the findings of the time survey; is       19      but he was asking a different question.
20       that correct?                                    20      BY MR. GROSSMAN:
21    A. Well, after --                                   21   Q. In all prior drafts of this report, you
22              MR. HAUSFELD: He is just asking           22      had a description of the survey, a
23       you --                                           23      description of the methodology, a
24    A. Did I in the footnote 2, --                      24      description of the responses, and a
25    Q. Yes.                                             25      description of the confidence or lack of

                                                                                             71 (Pages 858 to 861)
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 1       confidence that you had in the outcome of        1              And I said, "No."
 2       the survey; correct?                             2              MR. GROSSMAN: I move to strike
 3    A. As I was developing my opinion, I had            3      as nonresponsive.
 4       phrases in there that were very complete.        4      BY MR. GROSSMAN:
 5       As I lost confidence, I couldn't --              5   Q. What was their suggestion as to drafting
 6       neither -- none of these were complete, so       6      this paragraph 2 to replace all of the
 7       I really didn't feel I should submit them.       7      discussion of the time survey that was in
 8    Q. Did anyone other than yourself have any          8      all previous drafts?
 9       input into the decision to put in                9   A. Their suggestion is, if I did not have
10       footnote 2 in the place of all of the           10      confidence in the report, then I should so
11       material that had previously been in every      11      state in this report and not worry about
12       draft of this report that has now been          12      all the other details of the report in
13       submitted to us?                                13      which I have lost confidence.
14    A. Yes.                                            14   Q. But for their suggestion, would you have
15    Q. Who?                                            15      submitted a report such as the draft of
16    A. Well, I can describe how, but that is not       16      December 19th that was previously marked
17       your question.                                  17      that contained a full description of the
18    Q. First who. Yes.                                 18      survey plus your opinion about lack of
19    A. The attorneys had some suggestion on how I      19      confidence in certain of the results?
20       might phrase it.                                20              MR. HAUSFELD: Objection. It is
21    Q. Which attorneys?                                21      a non sequitur.
22    A. I don't recall.                                 22   Q. Could you please answer the question?
23    Q. Was Mr. Gallagher one of them?                  23              MASTER KRANTZ: Answer it if you
24    A. I don't recall.                                 24      can.
25    Q. But they were plaintiffs' attorneys, those      25              THE WITNESS: Okay.

                                              Page 863                                                 Page 865
 1       with whom you work; correct?                     1   A. Well, I was running out of time. I didn't
 2    A. On the phrasing of this -- so I want to          2      feel confident in any of these. And I
 3       make clear that it is my decision --             3      certainly would not have submitted --
 4               MASTER KRANTZ: The question is           4      wanted to submit a report to the Court
 5       just --                                          5      that I had not had a chance to complete
 6               THE WITNESS: Yes.                        6      the wording in or to complete my opinions
 7               MASTER KRANTZ: -- your                   7      or to complete the analysis.
 8       reference to attorneys in your prior             8   Q. I will ask the question again. If the
 9       answer, the question is --                       9      attorneys for plaintiffs had not suggested
10               THE WITNESS: Plaintiffs'                10      that you put in footnote 2 in place of the
11       attorneys.                                      11      extensive analysis that had been in prior
12               MASTER KRANTZ: Is what he is            12      drafts, would you have used the language
13       referring to.                                   13      that was contained in prior drafts or
14       BY MR. GROSSMAN:                                14      something like it to explain the survey,
15    Q. Plaintiffs' attorneys?                          15      its methodology, its results, and your
16    A. Yes.                                            16      degree of confidence or lack of confidence
17    Q. What was their suggestion?                      17      in those results?
18    A. Well, what I -- what was their suggestion?      18               MR. HAUSFELD: Don't answer the
19       Can I give a context?                           19      question. I am going to object, because
20    Q. I am asking you what was their suggestion.      20      it is a deliberate distortion of the
21    A. Right. Their suggestion -- well, I wanted       21      record.
22       to -- their suggestion is -- I want more        22               MR. GROSSMAN: Oh, come on.
23       time -- I want more time to fully digest        23               MASTER KRANTZ: Can we just -- I
24       these opinions, and they asked me, "Do you      24      suggest going about it a different way.
25       have confidence in your report?"                25      You say there was a suggestion made that

                                                                                           72 (Pages 862 to 865)
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                                               Page 906                                                 Page 908
 1       you a different question.                         1   A. So let me do my best.
 2       BY MR. GARNICK:                                   2   Q. No. That was my question is whether you
 3    Q. Do you have one number that you would             3      had a single number that reflected the
 4       stand behind as the number -- as the              4      percentage of light smokers for whom
 5       percentage of light smokers for which             5      health risks are a significant
 6       health risks is a significant contributing        6      contributing factor in their decision to
 7       factor in their decision to purchase              7      smoke light cigarettes. If there isn't a
 8       lights?                                           8      single number, that answers my question.
 9    A. I really --                                       9   A. Okay. It is a trick question. But go
10    Q. Do you have one number?                          10      ahead. Yes.
11    A. You are boiling down a complicated               11   Q. So is there a single number?
12       situation to a single number which I             12   A. Well, you know, the -- given the trick
13       object to.                                       13      question, the answer is that there is no
14    Q. No?                                              14      single number.
15    A. I will do my best.                               15   Q. Thank you. Let me ask you. Do you
16    Q. You can say no or you can say yes. And           16      utilize your conjoint analysis to
17       where is it in the report? Where is that         17      establish the percentage of class
18       number in the report?                            18      members --
19               MR. HAUSFELD: Now that is                19               MR. GARNICK: No. Strike that.
20       compound. Do you want him to go through          20   Q. Do you utilize a conjoint analysis to
21       the numbers?                                     21      establish the percentage of light smokers
22               MR. GARNICK: No speaking                 22      who relied on cigarette manufacturers'
23       objections, please.                              23      allegedly false representations in
24       BY MR. GARNICK:                                  24      deciding to purchase light cigarettes?
25    Q. I don't want you to go through the               25   A. State that again?

                                               Page 907                                                 Page 909
 1       numbers. I want you to tell -- show me            1   Q. Yes. Do you utilize a conjoint analysis
 2       where you have a number in this report.           2      to establish the percentage of light
 3    A. Well, let me -- give me a chance to --            3      smokers who relied on cigarette companies'
 4    Q. Go ahead.                                         4      allegedly false representations in
 5                MASTER KRANTZ: Let's get some            5      deciding to purchase light cigarettes?
 6       clarity, because the questions have               6   A. Coupled with other information, the
 7       shifted a little bit. What is the precise         7      conjoint analyses can be used to answer
 8       question you want answered?                       8      that particular question, but I am relying
 9                MR. GARNICK: Let me start                9      on other experts to establish the whether
10       again.                                           10      or not cigarette companies have in fact
11       BY MR. GARNICK:                                  11      misled consumers, although I understand
12    Q. Please show me, if you can, if it is in          12      that -- I have been told that that has
13       the report, the percentage of light              13      been established and, of course, all the
14       smokers for which health risks is a              14      other things that are part of that
15       significant contributing factor in their         15      question.
16       decision to purchase lights.                     16   Q. So is the answer no?
17                (Pause.)                                17   A. Answer the question -- ask the question
18                (The witness viewing exhibit            18      again, and I'll do my best.
19       number 35.)                                      19   Q. Do you utilize your conjoint analysis to
20    A. Okay. The best I can answer to you -- you        20      establish -- do you utilize your conjoint
21       keep asking -- you know, it is sort of           21      analysis to establish the percentage of
22       like asking, you know, can you show me a         22      light smokers who relied on cigarette
23       single number that -- the report cannot be       23      companies' allegedly false representations
24       boiled down to a single number.                  24      in deciding to purchase light cigarettes?
25    Q. Okay.                                            25   A. I have not personally established all of

                                                                                            83 (Pages 906 to 909)
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 1       the items in the predicate to your                1      I am getting a little tired here -- it
 2       question.                                         2      included statements about current beliefs
 3    Q. Thank you. Let me ask you to turn to              3      and whether or not they could recall
 4       exhibit 37, which is your December draft          4      changing their beliefs --
 5       16th report.                                      5   Q. Okay.
 6               (Handing exhibit number 37 to             6   A. -- with respect to the aggregated scale.
 7       the witness.)                                     7   Q. And in paragraph 93A, it states, "151" --
 8    A. Which one is this? It is one of the               8      and then in parentheses "15 percent" --
 9       December 16th ones. Is this the one we            9      "of the 1,026 respondents currently
10       are calling Long or calling Short?               10      believe that smoking 'light' cigarettes
11    Q. I thought we were calling this Big.              11      has LESS health risks than smoking regular
12    A. Or Big, or whatever.                             12      cigarettes."
13    Q. Let me ask you to turn to paragraph 93,          13              Did I read that correctly?
14       and then we can compare -- make sure it is       14   A. You read that correctly.
15       the right one.                                   15   Q. Okay. Now at one point in writing this
16    A. Okay.                                            16      report, did you believe that -- I am
17               (Witness complying.)                     17      trying to phrase this without running into
18    A. No. I just want to make sure that I,             18      -- at any time --
19       because there are three reports --               19              MR. GARNICK: Well, strike that.
20    Q. I think this is the earlier of the three.        20              MR. HAUSFELD: So I can withdraw
21    A. This is one of the two that was developed        21      the objection?
22       on December 16th.                                22              MR. GARNICK: Yes.
23    Q. Right.                                           23              MR. HAUSFELD: Okay.
24    A. And I now recognize it. Thank you.               24      BY MR. GARNICK:
25    Q. Okay. Now the purpose of the time study          25   Q. First of all, who wrote 93A? Did you

                                               Page 911                                                 Page 913
 1       was to attempt to determine essentially           1      write 93A?
 2       when light smokers came to believe that           2   A. Well, I think at my direction, I described
 3       lights were not safer than regular                3      this to Mr. Gaskin and said, "You know,
 4       cigarettes? Is that fair? Is that one of          4      put all these numbers in here."
 5       the purposes of the time study?                   5   Q. Okay.
 6    A. That is one of the purposes --                    6   A. It is still -- as I have testified this
 7    Q. Okay.                                             7      morning earlier, some of this is
 8    A. -- subject to the actual phrasing in the          8      boilerplate. Some of it is material I'm
 9       questionnaire.                                    9      still developing.
10    Q. Okay. And as a predicate to that, one of         10   Q. And you also testified earlier today that
11       the questions you asked the people who           11      over time you came not to -- to start
12       were participating in the study was about        12      losing confidence in some of the results
13       their current beliefs about the risks of         13      of the time survey; correct?
14       lights compared to the risks of regular          14   A. Yes.
15       cigarettes; is that correct?                     15   Q. And did you lose confidence in the result
16    A. Well, we're asking an aggregated scale,          16      of the time survey reflected in 93A?
17       which I have described in this report.           17   A. Well, if we -- yes. In fact, there is
18    Q. Right. And that aggregated scale included        18      another footnote in one of these that
19       questions that talked about present              19      describes in detail how to interpret that
20       beliefs as opposed to past beliefs;              20      particular number, and I thought that this
21       correct?                                         21      number is not reflective of the more
22    A. It is a complicated question -- well, it         22      accurate conjoint analysis study and also
23       is a questionnaire that is long, and it          23      some projections that could be made from
24       included to the best of my recollection --       24      that.
25       and I would be happy to look through it --       25   Q. Well, I thought that what you had done was

                                                                                            84 (Pages 910 to 913)
